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Case 19-42075

Eastern District of Texas
Sherman

Fri Oct 18 13:04:23 CbT 2019

Ashley Funding Services, LLC
Resurgent Capital Services
PO Box 10587

Greenville, SC 29603-0587

Calvary Portfolio Service
ATIN Bankruptcy Department
500 Summit Lake Drive 400
Valhalla NY 10595-2322

Carmax Auto Finance

Attn Bankruptcy Department
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Kennesaw GA 30144-5897

Citadal Mortgage
15707 Rockfield Blvd 3rd Floor
Irvine CA 92618-2830

Citadel Servicing Corporation

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ATIN Centralized Insolvency Operation
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Philadelphia PA 191017346

MERRICK BANK
Resurgent Capital Services
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Greenville, SC 29603-0368

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4681 Maverick Way
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Department Stores National Bank
c/o Quantum3 Group LLC

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Kirkland, WA 98083-0657

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MABTC Tidewater Credit Services
ATIN Bankruptcy Department

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Chesapeake VA 23325-0306

Mustang Park Owners Association, Inc.
c/o Legacy Southwest

Property Management

8668 John Hickman Pkwy., Suite 801
Frisco, TX 75034-9386
NEBRASKA FURNITURE MART ©2S° 19-42075 Doc 24

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DEPT #08444
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(p) PHOENIX FINANCIAL SERVICES LLC
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Plano Orthopedic Sports Medicine
c/o Secured Resolutions LLC

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(p) TIDEWATER FINANCE COMPANY
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CHESAPEAKE VA 23325-0306

US Trustee

Office of the U.S. Trustee
110 N. College Ave.

Suite 300

Tyler, TX 75702-7231

eMoneyUSA Holdings, LLC

C/O WEINSTEIN & RILEY, PS
2001 WESTERN AVENUE, STE 400
SEATTLE, WA 98121-3132

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ATTN Bankruptcy Department
PO Box 6555
Englewood CA 80155-6555

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Plano TX 75093-5005

Secured Resolutions LLC
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8685 Sheridan Drive
Williamsville NY 14221-6353

Texas Health Resources

by American InfoSource as agent

as assignee of TEXAS HEALTH PRESBYTERIAN
4515 N Santa Fe Ave

Oklahoma City, OK 73118-7901

U.S. Attorney General
Department of Justice

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United Revenue Corp

ATTN Bankruptcy Department
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Arlington TX 76010-2495

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Frontier Communications
19 John Street
Middleton NY 10940

Tidewater Finance Company
PO Box 13306
Chesapeake, VA 23325

Nebraska Furniture Mart

ATIN Bankruptcy Collections Depart

700 § 72nd Street
Omaha NE 68114

Phoenix Financial Services LLC
ATIN Bankruptcy Department

PO Box 361450

Indianapolis IN 46236
Case 19-42075 Doc 24 Filed 10/22/19 Entered 10/22/19 16:53:13 Desc MainDocument Page 3 of 3

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(d)Carey D. Ebert (d) Lewisville ISD (d)Michael Arenas

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(d)Mustang Park Owners Association, Inc. End of Label Matrix

c/o Legacy Southwest Property Management Mailable recipients 49

8668 John Hickman Pkwy., Suite 801 Bypassed recipients 4

Frisco, TX. 75034-9386 Total 53
